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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF MARYLAND

        CHAMBERS OF                                                         6500 CHERRYWOOD LANE
   GEORGE JARROD HAZEL                                                    GREENBELT, MARYLAND 20770
UNITED STATES DISTRICT JUDGE                                                       (301) 344-0637
                                                                                 (301) 344-3910 FAX




                                           July 5, 2019

RE: Kravitz et al. v. United States Dep’t of Commerce et al., 18-1041;
LUPE et al. v. Ross et al., 18-1570

                                       LETTER ORDER

Dear Counsel:

       The Court has received and appreciates the discovery plans submitted by both sides. It
appears that while the parties agree to the parameters of the proposed schedule, Defendants take
the view that discovery on the remaining equal protection and Section 1985 claims should be put
on hold pending a “new” decision being reached by the Commerce Secretary. While there is
some degree of logic to Defendants’ position, the Court disagrees based on the unique
circumstances of this case.

        Plaintiffs’ remaining claims are based on the premise that the genesis of the citizenship
question was steeped in discriminatory motive. The discovery contemplated by the Court related
to the recently discovered evidence in this case goes directly to that issue. Regardless of the
justification Defendants may now find for a “new” decision, discovery related to the origins of
the question will remain relevant. Given that time is of the essence, therefore, the prudent course
is to proceed with discovery. As both sides acknowledge, the schedule may be adjusted as
circumstances warrant.

       Additionally, Defendants suggest in their filing that Plaintiffs’ Rule 60(b) Motion is now
moot. If Defendants wish to further litigate that issue, while conducting discovery, an appropriate
motion can be filed and the Court will formally respond upon full briefing. In the meantime, in
accordance with the Order being issued today, discovery shall commence.

        Although informal, this is an ORDER of the Court.


                                                             Sincerely,

                                                                       /s/
                                                             George J. Hazel
                                                             United States District Judge
